Case 2:05-cr-20128-.]PI\/| Document 38 Filed 07/22/05 Page 1 of 3 Page|D 39

 

IN THE UNITED sTATEs DIsTRIcT coURT |mBY-Zév.c.
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JUL
wESTERN DIvIsIoN ' 22 PH |:59
Cl£+i;,us '\z§'(’m°
UNITED sTATEs oF AMERICA W@OFT*»LMEMP;-£S

Plaintiff,
Criminal No. Q§» 2052 91

(GO-Day Continuance)

'/'7!/!_'70!//)% /MCG:WL;

 

 

 

 

~_/~_/V`_r`_,`_uvvvw~_r~_/VVVV`_/`_rv

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the August
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, September 23, 2005, with trial to take place
on the October,‘ZOOB, rotation calendar With the time excluded
under the Speedy Trial Act through October 14, 2005. Agreed in
open court at report date this 22nd day of July, 2005.

Thi_q documan entered on the docket sheet m ¢r‘r*\n!imnca
wmeme;=an£mrE?w¢FRCYPQHH!

Case 2:05-cr-20128-.]PI\/| Document 38 Filed 07/22/05 Page 2 of 3 Page|D 40

SO ORDERED this 22nd day of July, 2005.

,Q¢Q W QQQ

JON PHIPPS MCCALLA
UN ED STATES DIS'I'RICT JUDGE

 

5/%%/5¢ _\

Assistan{ Udlted States Attorney

Counsel for Defendant(s)

 

 

 

 

 

     

uNlTED sTATE DRISTIC COUR - WTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:05-CR-20128 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

Frederick H. GodWin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Bruce I. Griffey

LAW OFFICES OF BRUCE I. GRIFFEY
142 North Third St.

3rd Floor

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

